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UNITED STATES DISTRICT COURT                                                               12/1/20
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                     20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On November 25, 2020, the Defendant filed a letter request under seal. On November

30, 2020, she filed a second letter request in which she proposed redactions on both letters. The

Government is hereby ORDERED to respond to the Defendant’s November 25, 2020 letter

request and to the request for proposed redactions by no later than December 2, 2020. The

letters shall be temporarily sealed while the Court resolves the redaction request.

       SO ORDERED.


Dated: December 1, 2020                          __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge




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